      Case 3:22-cv-00215-TSL-MTP           Document 60        Filed 05/12/23      Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                 NORTHERN DIVISION

 HERMES HIALEAH WAREHOUSE, LLC                          )
                                                        )
                   Plaintiff/Counter-Defendant,         )
                                                        )    Civil Action No.:
              v.                                        )
                                                        )           3:22-cv-00215-TSL-MTP
 GFE NY, LLC, et. al.                                   )
                                                        )
                                                        )


                   AGREED ORDER OF DISMISSAL WITHOUT PREJUDICE


          Plaintiff/Counter-Defendant, Hermes Hialeah Warehouse, LLC and Defendant/Counter-

Plaintiff GFE NY, LLC have announced to the Court that they have reached a settlement of all

claims in this matter. As part of the settlement, Hermes also has agreed to involuntary dismiss the

claims raised against Defendants Boris Musheyev, Viacheslav Eliyayev, Jan Wimpfheimer and

Danny Fulda without prejudice. The Court, being advised of same, hereby dismisses the case

without prejudice and the Court will retain jurisdiction over the Parties’ settlement agreement.

          IT IS THEREFORE ORDERED AND ADJUDGED that this matter is hereby

discharged and dismissed without prejudice with each party separately bearing their respective

costs for this action. The Court will retain jurisdiction over the parties’ settlement agreement.

          SO ORDERED AND ADJUDGED this12th day of May, 2023.


                                              /s/ Tom S. Lee
                                              UNITED STATES DISTRICT JUDGE




50827679 v1
      Case 3:22-cv-00215-TSL-MTP      Document 60   Filed 05/12/23   Page 2 of 2




SUBMITTED AND APPROVED BY:


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50827679 v1                               2
